                                                                                   FILED
                                                                                 NOVO 9 2020
                     UNITED STATES DISTRICT COURT
                                                                              PETER~!R,CU!IIK
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              FOR THE EASTERN DISTRICT OF NORTH CAROLINA                     BY      '      DEPCU<
                           WESTERN DIVISION

                                No.   o:20-CQ ~SOln
UNITED STATES OF AMERICA                       )
                                               )
              V.                               )      CRIMINAL INFORMATIO N
                                               )
SHARITA MATHIS RICHARDSON                      )



      The United States Attorney charges that:

                                      Introduction

      1.      Beginning n o later t h an in or about January 2012, a nd continuing until

at least in or about February 2016, in the Eastern District of North Carolina and

elsewh ere, the defe ndant, SHARITA MATHIS RICHARDSON, conspired with others,

known and unknown to the United States Attorney, in a scheme to defraud the North

Carolina Me dicaid Program by submitting false and fraudulent reimbursement

claims for non-existent services and submitting claims that misrepresented the

services actually provided to Medicaid beneficiaries, if any, in order to earn greater

reimbursement t han was owed.

                     The North Carolina Medicaid Program

      2.      The North 9arolina Medicaid Program is a state-administered program

aided by federal funds.

      3.      Medicaid h elps pay for reasonable and medically necessary services for

qualifying,   enrolled individuals a nd their families,       referred to   herein   as




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"beneficiaries."   Covered services include mental and behavioral health services

provided on an outpatient basis.

       4.      The North Carolina Medicaid Program is administered by the North

Carolina Department of Health and Human Services, Division of Health Benefits

(formerly known during times relevant to this Information as the Division of Medical

Assistance), which oversees mental health providers throughout the state who

receive payments from Medicaid. The North Carolina Medicaid Program includes

both traditional Medicaid and the North Carolina Health Choice for Children

insurance program ("NCHC") (the North Carolina Medicaid Program, the Division of

Health Benefits, and NCHC are collectively referred to herein as "Medicaid").1

      5.       If qualified, an individual can enroll as a Medicaid beneficiary. At the

time of enrollment, a beneficiary receives a unique alphanumeric code issued by the

program, known as a Medicaid Identification Number.          Each beneficiary can be

identified by reference to their Medicaid Identification Number and may use the

number to receive covered services.

      6.       Medicaid beneficiaries receive services from practitioners ("rendering

providers") and companies ("billing providers"). Once a rendering provider or billing

provider enrolls with Medicaid, the program issues a unique number to the provider,

known as a "provider number." Rendering and billing providers must also obtain a

federal identification number, known as a National Provider Identifier or "NPI"



1     The Health Choice program supports families whose household income is too
high to qualify for traditional Medicaid benefits and too low to afford private or
employer-sponsored health insurance.

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number. All Medicaid providers must certify t h at they will only bill the government

for services that they actually render.

      7.      After a rendering provider renders a covered medical service to a

Medicaid beneficiary, the billing provider m ay bill Medicaid for the reasonable and

necessary costs of the service . To bill Medicaid, providers generally send an electronic

claim to the program. In North Carolina, electronic claims are submitted through

Medicaid's online provider portal, referred to as "NCTracks." Providers may also hire

third-party billing companies or contractors to perform th e task of submitting claims

to Medicaid for payment.

      8.      Medicaid providers are permitted to bill for outpatient health services

only where certain objective criteria have been met. Medicaid requires providers to

adhere to Current Procedural Terminology ("CPT") codes to determine whether these

objective criteria have been met prior to billing Medicaid for those services. Under

Medicaid regulations, certain procedures, such as medical evalu ation and

management services, can only be provided by specified medical professionals, such

as a physician, nurse practitioner, or physician's assistant.

      9.      The claim generally includes, but is not limited to, the date of the alleged

service, the Medicaid Identification Number of the beneficiary, the nature of the

service rendered (including the CPT code for th e service) , and the provider number

or federally-issued NPI number. The electronic claim is generally all that is required

to receive payment from Me dicaid.




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      10.      While Medicaid may reject a claim if, for example, the provider or

beneficiary is not enrolled, Medicaid typically presumes the truth of each claim and

generally pays providers for the services that they bill. In other words, Medicaid

entrusts its providers to submit claims only for services that they actually perform.

      11.      Medicaid providers are required to maintain service notes and oth er

medical records for a period of five years in order to document and substantiate any

claims for reimbursement.

      12.      Medicaid is a "health care benefit program," as defined in Title 18,

United States Code, Section 24(b).

                        The Health Care Fraud Conspiracy

      13.      Beginning no later than in or about J anu ary 2012, the defendant,

SHARITA MATHIS RICHARDSON, conspired with other persons, known and

unknown to the United States Attorney, in a sch eme to defraud Medicaid by seeking

and obtaining payment from Medicaid for claims for outpatient behavioral health

services purportedly provided to Medicaid beneficiaries that were false and

fraudulent in one or more material respect.

      14.      Specifically, SHARITA MATHIS RICHARDSON and others conspired

to submit claims to Medicaid for fictitious services that were never provided to the

beneficiaries. Among other things, the services were often backdated to appear as if

they had occurred up to 90 days prior to the date the claims were submitted to

Medicaid, a practice known as "back-billing." In truth, as the conspirators well knew

and believed, the beneficiaries never received any services at all.



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      15.      SHARITA MATHIS RICHARDSON and others also conspired to submit

claims to Medicaid that, to the extent any services were actually provided to

beneficiaries, misrepresented the nature of the services rendered in order to earn

more in Medicaid reimbursements than was actually owed, a practice known as "up-

coding."

      16.      It was also a part of the conspiracy that, in an effort to obstruct possible

Medicaid audits, the conspirators generated and/or used false and fraudulent patient

records that were required to be kept and maintained by Medicaid outpatient

behavioral health service providers, including comprehensive clinical assessments,

treatment plans, and progress and services notes.

      17.      During the course of the conspiracy, SHARITA MATHIS RICHARDSON

and others submitted, caused to be submitted, and aided in the submission of

thousands of false and fraudulent claims to Medicaid for services purportedly

provided to Medicaid beneficiaries by and through various business entities in North

Carolina.

                                      COUNT ONE

      18.      The United States Attorney realleges and incorporates by reference

herein all of the foregoing allegations of this Bill of Information and further alleges

that beginning no later than in or about January 2012, and continuing until at least

in or about February 2016, in the Eastern District of North Carolina and elsewhere,

the defendant, SHARITA MATHIS RICHARDSON, did knowingly combine, conspire,

confederate, and agree with other persons, known and unknown to the United States



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Attorney, to commit an offense against the United States, that is, health care fraud,

in violation of Title 18, United States Code, Section 1347.

                             Object of the Conspiracy

       19.     It was a part and object of the conspiracy that the defendant, SHARITA

MATHIS RICHARDSON, and other persons, known and unknown to the United

States Attorney, having devised the above-described scheme and artifice, to defraud

and to obtain by means of materially false and fraudulent pretenses, representations,

and promises, any of the money owned by and under th e custody and control of a

health care benefit program, as defined in Title 18, United States Code, Section 24,

in connection with the delivery of, and payment for, health care benefits, items, and

services, by submitting and causing to be submitted false and fraudulent claims to

the North Carolina Medicaid Program, a violation of Title 18, United States Code,

Section 1347.

                                Manner and Means

      Among the manner and means used to effect and accomplish the purpose of

the conspiracy included, but were not limited to , the following:

      20.      The conspirators, including SHARITA MATHIS RICHARDSON, carried

out the conspiracy through the manner and means de scribed in the foregoing

paragraphs of this Bill of Information, among others.

      All in violation of Title 18, United States Code, Section 1349.




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                              FORFEITURE NOTICE

       The defendant, SHARITA MATHIS RICHARDSON, is hereby given notice

that all of the defendant's interest in all property specified herein is subject to

forfeiture.

       Upon conviction of the offense alleged in this Criminal Information, the

defendant, SHARITA MATHIS RICHARDSON, shall forfeit to the United States,

pursuant to 18 U.S.C. § 982(a)(7), any property, real or personal, that constitutes or

is derived, directly or indirectly, from gross proceeds traceable to the commission of

the offense.

       The forfeitable property includes, but is not limited to , the gross proceeds

traceable to the commission of the offense personally obtained by the defendant,

SHARITA MATHIS RICHARDSON, in the amount of at least $336,636.

       If any of the property described above, as a result of any act or omission of the

defendant:

          (1) cannot be located upon the exercise of due diligence;

          (2) has been transferred or sold to , or deposited with, a third party;

          (3) has been placed beyond the jurisdiction of the court;

          (4) has been sub stantially diminish ed in value; or

          (5) has been commingled with other property which cannot be divided
              without difficulty,




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the United States of America shall be entitled to forfeiture of sub stitute property

pursuant to Title 21 , United States Code, Section 853(p) , as incorporated by Title 28,

United States Code, Section 2461(c) .

                                        ROBERT J. HIGDON, JR.
                                        United States Attorney


                                        AD~~17)
                                        Assistant United States Attorney
                                        Criminal Division




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